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                EXHIBIT

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To:        Don Bennett Moon[don.moon@azbar.org); Liz McDougall
VVM[liz.mcdougall@villagevoicemedia.com]
From:      Barbara Roessner
Sent:      Sat 6/9/2012 11 :19:27 PM
Subject: Re: i think we should consider/discuss sending a short legalese letter to detroit news asking
that they not use the term "backpage.com murder victim" ... backpage.com didn't murder anyone ... btr

yes, the risk you cite is definitely the downside. on the other hand ... organizations and people
complain all the time to media outlets about headlines, wording, etc., and it has an effect. maybe
this one is just too hot to touch. (and it doesn't seem to be getting picked up much outside detroit.
maybe we can ask anna to track it. just want to avoid a made-for-TV movie of the same title ... )

Barbara T. Roessner
btroessner@yahoo.com
mobile: 860-543-9017

--- On Sat, 6/9/12, Liz McDougall VVM <liz.mcdougall@villagevoicemedia.com> wrote:

  From: Liz McDougall VVM <liz.mcdougall@villagevoicemedia.com>
  Subject: Re: i think we should consider/discuss sending a short legalese letter to detroit
  news asking that they not use the term "backpage.com murder victim" ... backpage.com
  didn't murder anyone ... btr
  To: "Don Bennett Moon" <don.moon@azbar.org>
  Cc: "barbara roessner" <btroessner@yahoo.com>
  Date: Saturday, June 9, 2012, 7:11 PM

   Willing to discuss but strongly disagree. We can't risk being anti-free speech now, and
   there is no trademark violation to allege. The term is annoying but it is marginally
   misleading at best. The potential blowback if our letter to Detroit News was published
   online (which I would do immediately if I were them) is awful. We should just let that
   news and phrase die out.

   On Jun 9, 2012, at 9:55 AM, Don Bennett Moon <don.moon@azbar.org> wrote:


     agree. dbm

     From: barbara roessner <btroessner@yahoo.com>
     To: liz.mcdougall@villagevoicemedia.com; don.moon@azbar.org
     Cc: barbara roessner <btroessner@yahoo.com>
     Sent: Saturday, June 9, 2012 7:04 AM
     Subject: i think we should consider/discuss sending a short legalese letter to detroit news
     asking that they not use the term "backpaqe.com murder victim" ... backpage.com didn't murder
     anyone ... btr




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